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                        Exhibit 8
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               Title: Effects of Kidney Function on the Safety and Efficacy of Rivaroxaban



                                                 Expert Report

                                                October 11, 2016




Produced by:

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I. Joachim H. Ix, MD, MAS – Background and Expertise

As an undergraduate student, I studied biochemistry and cell biology at UC San Diego (UCSD).
I graduated with a Bachelor’s in Science degree in Biochemistry and Cell Biology in 1996
(Summa Cum Laude). I subsequently matriculated in medical school at the University of
Chicago, Pritzker School of Medicine. While there, I was inducted into the Alpha Omega Alpha
medical honor society and received an award for outstanding student research. I graduated
with my medical doctorate (MD) in 2000 and moved to UC San Francisco (UCSF), where I
completed my categorical medicine internship and residency (2000-03). I received the "most
outstanding intern" award in 2001 and the "most outstanding second year resident" award in
2002. After completion of my residency, I was asked to serve as Chief Medical Resident for one
year (2003-2004) where my job consisted of managing the UCSF internal medicine residency
program including serving as an Attending Physician on the medical wards, managing the
schedule of approximately 100 interns and residents, and organizing and delivering teaching
material to the UCSF medical residents, interns, and medical students. Thereafter, I began my
nephrology fellowship, also at UCSF. My nephrology fellowship consisted of one year
dedicated to clinical nephrology training and one year dedicated to nephrology research
training. I completed fellowship in June 2006, and was recruited to join the faculty as Assistant
Professor at UCSF at that time. During the last year of my fellowship (2005), I matriculated in a
two year Masters’ degree program in Epidemiology and Biostatistics at UCSF. I graduated with
a Masters in Advanced Sciences (MAS) from this program in 2007. Thus, this Master’s program
spanned the final year of my fellowship and my first year as a faculty member at UCSF.

In July 2007, after completion of my Master's degree and 1 year as an Assistant Professor on
faculty at UCSF, I was recruited to a similar position as Assistant Professor at my
undergraduate alma mater; UCSD. I have since moved through the faculty ranks receiving an
accelerated promotion to Associate Professor of Medicine in 2011, and a second acceleration to
Professor of Medicine (with Tenure) in 2013. In December 2013, I was promoted to Chief of the
Division of Nephrology at UCSD, where I lead all activities related to nephrology and
hypertension at UCSD.

My current position requires that I dedicate effort to a variety of activities in research, clinical
medicine, teaching, and administration. As Chief of Nephrology, I supervise and direct a
Division with approximately 30 full-time faculty members, approximately 12 nephrology fellows,
and approximately 30 staff members. I spend about 20% of my professional effort on
administrative duties which includes activities such as recruiting and hiring new faculty, writing
files for promotions, overseeing any disciplinary actions, overseeing all clinical aspects of our
division at UCSD, planning and overseeing the Division’s business plan, meeting with
representatives from the UCSD and VA hospital administration, Department Chair, and Chiefs
of the other Divisions within the Department of Medicine and generally oversee and manage the
Division’s mission of excellence in clinical care, teaching, research, and public policy. I spend
approximately 20% of my time in direct patient care. I care for approximately 10 end-stage
renal disease (ESRD) patients on maintenance dialysis. I staff the nephrology clinic where I

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supervise medical residents and fellows in nephrology care about twice per month. I also staff
the in-patient nephrology consultative service at both the UCSD hospitals and at the San Diego
VA about 12 weeks per year. I spend about 10% of my time teaching medical students,
residents, fellows, and research trainees (both PhD post-doctoral researchers and MD research
fellows). Each year, I give lectures to the UCSD medical and pharmacy students in the “Human
Health and Disease” course; a component of their core medical school and pharmacy school
curriculum. These lectures are attended by approximately 200 students. I provide
approximately 3 hours of lectures on “Quantification of Kidney Function” and on “Calcium,
Phosphate, and Magnesium Regulation by the Kidney”. During this course, I also run multiple
small group sessions with approximately 20-30 medical and pharmacy students in each.

The remainder of my professional effort (approximately 50%) is dedicated to my research
program. In my research, I apply epidemiology and biostatistics methods to study how the
kidney regulates calcium and phosphate, how these pathways are altered in persons with
kidney disease of varying severity, and how abnormal calcium and phosphate regulation
contributes to adverse health outcomes; particularly to risk of cardiovascular disease and death.
Above and beyond epidemiology and statistical approaches of observational research, I am
leading several randomized clinical trials in kidney disease patients to identify and test new
therapies that will decrease risk of cardiovascular disease in kidney disease patients to improve
the length and quality of life for kidney disease patients. I am currently Principal Investigator on
multiple contracts and grants from the National Institutes of Health and the American Heart
Association; these two groups are responsible for the bulk of my research funding. I have
published over 200 peer reviewed research manuscripts, many in top-tier nephrology and
general medicine journals. I have been invited to give presentations about my work at many
leading research institutions across the US and internationally, and at major nephrology and
heart foundation national meetings (the American Society of Nephrology [ASN], the National
Kidney Foundation [NKF], the American Heart Association [AHA], and the American Diabetes
Association [ADA]). Relevant to this report, I have authored manuscripts relevant to
measurement of kidney function in persons with normal to near-normal kidney function,1, 2 the
relationship of muscle mass on creatinine generation rate,3 and on the relationship of kidney
disease with atrial fibrillation (AF)4 in some of my prior work. I have also previously served on a
panel of the Institute of Medicine, focused on dietary sodium intake and blood pressure; I was
selected to participate in this panel because of my expertise in measurement of kidney function.

More detailed information on my background is provided in my Curriculum Vitae.

I bring this background and training to guide my expert opinions delivered in this report. In
writing this report, I was asked to provide a brief summary of what kidneys do in the body, to
review the available literature examining the effects of kidney function on the risk of bleeding in
patients treated with rivaroxaban (Xarelto ®), and to provide my opinion about whether kidney
function may influence the risk of bleeding in patients with kidney disease, and if so, at what
level. I have no prior testimony as an expert witness. My fee in this matter is $600 per hour.



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II. Summary of Opinions

Upon my review of the stated task, I have come to the following expert opinions, which I hold to
a reasonable degree of medical and scientific certainty, and formed based on the same type of
analyses used in my daily clinical practice and in composing my published work. I reserve the
right to supplement or change my opinions as new information becomes available:

   1) Small to moderate decrements in kidney function is common in the general population,
      and even more common in persons with atrial fibrillation.
   2) Kidney function is not necessarily stable over time. Atrial fibrillation itself, medications
      commonly used in patients with atrial fibrillation, and common changes in clinical status
      predispose to changes in kidney function over time in patients with atrial fibrillation.
   3) Persons treated with rivaroxaban should have kidney function and prothrombin time
      measured at the time of initiation of treatment, and repeatedly at intermittent intervals
      throughout the course of therapy. The assessment should be more frequent in patients
      who are closer to a creatinine clearance < 30 ml/min or persons with a trajectory of
      kidney function that is deteriorating quickly. Assessment of kidney function should also
      occur when new medications or clinical situations occur that might change kidney
      function.
   4) At the present time, the risks and benefits of treating persons with creatinine clearance <
      30 ml/min with rivaroxaban for non-valvular atrial fibrillation are uncertain and
      understudied. This treatment strategy should be avoided.

The remainder of this report describes the data that led to these opinions.

III. What Do Kidney's Do?

A full review of kidney physiology is beyond the scope of this report. I have written introductory
chapters in text books for medical students on this topic and refer the reader to those materials
for a more in-depth review.5 An overview is provided here so as to provide the relevant
background to understand my opinions about rivaroxaban and kidney function.

The kidneys are located in the soft tissue behind the area in the abdomen where the intestines
lie and just below the diaphragm in an area referred to as the retroperitoneum. Their most basic
function is to serve as a filter to remove toxins from the bloodstream. In this capacity, they
remove toxins (including medications), regulate the concentrations of a variety of salts in the
bloodstream, and regulate how much fluid is excreted from the body.

As the primary organ responsible for purifying the bloodstream, the kidneys receive a large
proportion of blood flow. Of each unit of blood that leaves the heart, approximately 20% is sent
to the kidneys. Thus, the kidney is a very vascular organ. Each kidney is composed of
approximately 1 million individual kidney units called “nephrons”. The nephron is the unit within
the kidney responsible for its key functions. As blood moves into the kidney, it is sent through
smaller and smaller branched blood vessels until reaching an individual nephron. Here, a
network of small blood vessels, called “capillaries” interfaces with the nephron. The interface

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between these capillaries and the nephron is called the “glomerulus”, which is the part of the
kidney where the blood is actually filtered.

The glomerulus has a unique structure that serves to filter the blood. Water and small solutes
can freely be filtered past the glomerulus into the nephron tubule. Progressively larger
molecules and molecules with progressively more negative charges have a more difficult time
traversing the glomerulus into the nephron tubule. In this way, small solutes are freely filtered
by the glomerulus, whereas larger molecules such as most proteins, are not. Instead, most (but
not all) of these larger particles leave the capillaries on the other side of the glomerulus, and are
eventually returned to the renal veins and back to the body’s circulation without being excreted
in the urine.

Thus, the glomerulus is a general blood filter based on molecule size and charge. Many large
molecules are made by the body, are needed for life, and the body does not want them lost in
the urine just to need to generate them once again. The glomerulus largely retains them. Many
small molecules may be unwanted, and can be freely filtered by the glomerulus, move into the
nephron tubules, and can ultimately be excreted in the urine. However, there are also a large
number of solutes that are freely filtered by the kidney, but that should not be excreted in the
urine. As the glomerular filtrate moves to later parts of the nephron, the cells lining the nephron
tubule process the solutes in the filtrate. This is a bi-directional process. Some solutes that
were filtered by the glomerulus and are within the tubule are re-absorbed by the tubule cells,
and as such, are returned to the bloodstream so that these molecules are not excreted in the
urine. One example is glucose, a key sugar absorbed from the intestine when we eat, and a
key source of energy for the body. Glucose is freely filtered by the glomerulus. It would clearly
be maladaptive for the body to indiscriminately lose glucose in the urine. Thus, the kidney
tubule cells avidly re-absorb glucose from the urine filtrate and, despite the fact that glucose is
freely filtered at the glomerulus, under normal circumstances, the kidney tubule cells are so avid
for its reabsorption that no glucose is detectable in the urine.

The kidney also has the ability to excrete substances that were not filtered at the glomerulus
into the urine filtrate. For example, to assist with acid-base regulation, the kidney tubule cells
can produce ammonia and secrete it into the urine filtrate such that it is excreted in the urine,
even though most of the ammonia was not filtered at the glomerulus. Many drugs are cleared
out of the body through the kidneys even if they may not be freely filtered at the glomerulus. For
example, penicillin is taken up from the blood by kidney tubule cells and excreted into the urine
filtrate so that it is eliminated from the body in the urine above and beyond any component that
was filtered at the glomerulus. Similarly, rivaroxaban is secreted by kidney tubules into the
urine, accounting for some of its clearance from the body.6 The kidney tubule cells do a great
deal of fine tuning of how much of particular substances should be reabsorbed or excreted to
keep the body in balance. For example, calcium is avidly reabsorbed in a bulk fashion in the
early part of the kidney tubule so that most of the calcium that is filtered at the glomerulus is re-
absorbed. However, at the later parts of the kidney nephron, the kidney has intricate
mechanisms to sense how much calcium the body may need, and to fine-tune the amount of
calcium that is re-absorbed in these later parts of the nephron such that the correct amount is

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retained in the body and the correct amount is excreted in the urine. Similar mechanisms exist
for a number of salts in the blood, allowing the kidney to rapidly respond to a number of
physiologic changes.

Last, the kidney regulates how much water our body has. Plasma (i.e. the fluid part of the
blood) is freely filtered at the glomerulus. If all of this water were excreted in the urine, we
would urinate about 150-170 liters per day. Thus, clearly, the vast majority of the filtered
plasma is reabsorbed by the kidney. However, the kidney has finely tuned sensing mechanisms
to respond to even modest changes in fluid balance. For example, when we are dehydrated,
the brain senses this, and secretes hormones that are detected at the kidney to generate a
more concentrated urine (i.e. more of the filtered water is reabsorbed along the nephron) until
the correct water balance of our body is restored to normal. Many of the cellular and sub-cellular
mechanisms by which the kidney conducts these physiologic tasks have been discovered and
described, but are beyond the scope of this review.

The kidney also has other important functions such as producing hormones that have effects in
other parts of the body, and responding to hormonal signals that come to it from other parts of
the body. Along with the lung, the kidney has a key role in regulating the acid-base status of the
body. And, along with the heart, the kidney has a key role in regulating blood pressure. Review
of these aspects of kidney physiology is beyond the scope of this brief review.

Last, and relevant to this review, the kidney and the liver are the key organs responsible for
eliminating most drugs from the body. Depending upon the drug, some are primarily cleared by
the liver, others are primarily cleared by the kidney, and still others are processed by both
organs. When the kidney plays a role in clearing drugs from the circulation, then kidney function
is often critical to dosing of such drugs to minimize the risk of side-effects.

IV. Serum Creatinine as a Marker of Kidney Function

The main indicator of kidney function in clinical practice since the 1930s has been the blood
concentration of creatinine, and remains so even today. Serum creatinine has little to do with
the kidneys per se, meaning that it is not produced by the kidneys, and is not thought to be
either harmful or helpful to kidney function. Nonetheless, blood concentrations of creatinine
serve as a useful indicator of glomerular filtration rate (GFR); the primary measure of how well
the kidneys can clear small solutes. Creatinine has several properties that have made it the
reference for comparison for more than 85 years. First, it is released primarily from muscle cells
at a continuous rate. While muscle mass differs by age, gender, and race, within individual
patients, muscle mass changes relatively slowly over time. Thus, assuming stable muscle mass
and kidney function, the serum creatinine is steady and reproducible in individual patients. Said
another way, when muscle mass is not changing, an increase or decrease in serum creatinine
concentration in an individual patient most often represents changes in GFR. Second,
creatinine is small enough to be freely filtered by the glomerulus, and there is no reabsorption of
creatinine once it is filtered. About 15% of creatinine that is excreted in the urine is not filtered
by the glomerulus, but secreted by the kidney tubules. This phenomenon leads to a modest
over-estimation of GFR based on creatinine clearance estimates. Last, creatinine is easily and
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inexpensively measured in most clinical laboratories world-wide. These measurements are
extremely precise, meaning that if the same blood specimen was measured twice, the two
measurements would differ by < 3% in most clinical laboratories.

Other markers of kidney function, including inulin clearance studies and iothalamate clearance
studies are considered the gold standard measurement of GFR in humans, but are done rarely
in clinical practice. This is because they require a continuous intravenous infusion rate, typically
over 6 hours, and accurate timed urine collections, and can involve radioactive isotopes for
measurement. These properties make iothalamate and inulin clearance studies quite impractical
and make serum creatinine the primary marker of kidney function in clinical practice. The above
measurements focus on glomerular function, and may not necessarily accurately estimate the
kidney’s ability to eliminate drugs by secretion, but nonetheless GFR estimates remain the
primary global measure of kidney function in clinical practice and used for drug dosing.

V. Impact of Age, Gender, and Body Weight on Clinical Assessment of Kidney Function
Using Serum Creatinine

Despite the many practical advantages of serum creatinine as a marker of GFR, it also has
important and well recognized limitations, many of which are relevant to this report. I will refer
to Figure 1, which depicts the nature of the relationship of iothalamate GFR on the x-axis (a gold
standard measure of kidney function) vs. serum creatinine concentration on the y-axis among
several hundred patients with kidney disease who had both measurements made concurrently
in a research study.7

The first important point is that the relationship of a particular change in GFR is not linearly
related to a change in serum creatinine; the relationship is curvilinear. While generally persons
with higher serum creatinine have lower GFR, Figure 1 depicts that this relationship is not linear.
For example, a change in iothalamate GFR from 100 to 50 ml/min/1.73m2 results in a much
smaller change in serum creatinine when compared to a change in iothalamate GFR from 50 to
0 ml/min/1.73m2. A key implication of this phenomenon is that it is difficult for serum creatinine
to detect early decrements in kidney function. It has been estimated that as much as 50% of
normal kidney function may be lost before serum creatinine concentrations are raised to the
point to be considered abnormal by most clinical laboratories.8

The second point is that, although serum creatinine concentrations are strongly influenced by
kidney function, differences in muscle mass also influence the serum creatinine concentration.
Specifically, for two individuals with identical GFR but who differ by their amount of muscle
mass, serum creatinine will be lower in the individual with lower muscle mass because the
muscles are producing less creatinine per unit time. This impacts the interpretation of serum
creatinine in individuals with different ages, genders, races, and body weights because, on
averaged, older persons have less muscle mass than younger persons, women have lower
muscle mass than men, and whites have less muscle mass than blacks.2, 9, 10 This can also be
discerned from Figure 1. The closed dots and dotted line reflects the nature of the relationship
between iothalamate GFR and serum creatinine concentrations in whites whereas the open
circles and solid line shows the same relationship in blacks. Thus, at any given level of
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iothalamate GFR, serum creatinine is higher, on average, in blacks due to greater creatinine
generation rate from muscle. Figure 1 is limited to women, but similar differences would be
apparent comparing women and men, wherein, at any level of iothalamate GFR, men would
have higher serum creatinine concentrations than women. And similarly, at any given level of
iothalamate GFR, younger persons would have higher creatinine concentrations than older
persons of the same race and gender due to greater muscle mass. Last, persons who are
heavier have greater muscle mass. Although body weight may come from either greater fat or
muscle, it is known that obese individuals also have substantially higher muscle mass, as
greater muscle mass is required to carry a body with greater body fat in usual daily life. Thus, at
any given level of iothalamate GFR, persons of greater weight will have higher serum creatinine
than those with lesser body weight.

Figure 1. Relationship of Iothalamate GFR with Serum Creatinine Concentration in
Patients with Chronic Kidney Disease Enrolled in the Modification of Diet in Renal
Disease (MDRD) Study7




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VI. Measurement of Kidney Function in Clinical Practice and Definitions of Chronic
Kidney Disease

The section above describes how differences in muscle mass may influence serum creatinine
concentrations, independent of the level of kidney function. Clinicians must therefore have tools
to account for differences in age, gender, race, and body weight when evaluating a particular
serum creatinine concentration as an indicator of kidney function in an individual patient. To
provide such tools, equations have developed that account for population average differences in
serum creatinine due to these factors. The first of these to gain wide-spread use in
pharmacology and in clinical practice was the Cockcroft-Gault equation, published in 1976, and
re-created below. The equation provides an estimate of creatinine clearance, which roughly
approximates GFR:11

Creatinine clearance = (140-age[yrs])*weight[kg]*0.85 if female / 72*serum creatinine [mg/dL]

Review of this equation reinforces several of the points made previously. Serum creatinine is in
the denominator of the Cockcroft-Gault equation, so individuals with higher serum creatinine will
have lower creatinine clearance (i.e., worse kidney function). Age is found in the numerator and
is subtracted from 140. Thus, older persons will have lower creatinine clearance at any given
serum creatinine concentration. Weight is in the numerator, thus persons with greater body
weight will have higher creatinine clearance at any given serum creatinine concentration. Last,
the equation is multiplied by 0.85 if the individual is female, thus at any given serum creatinine
concentration, women will have a creatinine clearance 15% lower than men.

The Cockcroft-Gault equation undoubtedly improves upon simply using the serum creatinine
concentration alone as an estimate of GFR, however it has important and widely recognized
limitations. Most importantly, the equation uses population average differences in muscle mass
by age, gender, and weight. Thus, the equation treats all women the same, while certainly not
all women have 85% the muscle mass of men. In a similar fashion, weight is treated the same
in everyone, while clearly some individuals may have a greater percentage of body weight due
to fat relative to muscle. In clinical practice, many patients with long protracted illnesses loose
muscle mass and are markedly low on muscle relative to their body weight. Such individual
changes in muscle mass are not accounted for by these equations. Next, the Cockcroft-Gault
equation treats serum creatinine as linearly related to creatinine clearance, thus the non-linear
relationship between serum creatinine and iothalamate GFR is not accounted for. Next, as
described previously, a small portion (~15%) of creatinine reaches the urine through secretion
by tubules rather than by glomerular filtration, thus the Cockcroft-Gault equation estimates
creatinine clearance, but systematically over-estimates GFR. Last, the Cockcroft-Gault
equation can do nothing to address the very modest changes in serum creatinine that occur with
large changes in GFR as kidney function declines from normal to mild-moderate decrements in
kidney function. All of these issues make the Cockcroft-Gault equation imprecise, and may lead
to misclassification of kidney disease severity in clinical practice, particularly among persons
with normal to near-normal kidney function. Said another way, kidney function may be quite


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different in actuality from what is estimated using the Cockcroft-Gault equation, particularly in
persons with modest decrements in kidney function that are seen common in older individuals.

In 1999, Levey and colleagues set out to improve upon the Cockcroft-Gault equation,
specifically to address three of its important limitations: (a) the fact that creatinine clearances
systematically over-estimates GFR, (b) the fact that no race term is included in the Cockcroft-
Gault equation (it was derived in patients who were predominantly white), and (c) the
assumption of a linear relationship between creatinine and GFR. Using data from a large study
of kidney disease patients (the MDRD study), they derived and validated the “MDRD equation”
that incorporated age, gender, and race. Interestingly, once race was included in the MDRD
equation, body weight had less influence on their estimate of GFR, and therefore, unlike the
Cockcroft-Gault equation, the MDRD equation does not include a weight term. This had
important clinical implications. Most hospitals take information on date of birth, sex, and race in
the hospital record when patients are first enrolled in the healthcare system. Once in the clinical
record, these data are available to the clinical laboratory. Thus, once serum creatinine is
measured in the clinical laboratory, the laboratory can rapidly calculate the estimated GFR (i.e.
eGFR) using the MDRD equation even if weight has not been measured in the clinic. This
allowed most clinical laboratories to begin reporting eGFR to clinicians and led to widespread
use and dissemination of this equation in clinical practice. Interestingly, the MDRD equation
was not as quickly adopted in pharmacology, and even today, much of drug prescribing,
monitoring of side effects, and pharmacology literature is based on Cockcroft-Gault estimates of
kidney function.7 This is also the case for the studies used to evaluate the effects of kidney
function on rivaroxaban, so despite the limitations of the Cockcroft-Gault equation, I will use it as
the principal marker of kidney function in subsequent sections.

The MDRD equation was also not perfect as it was derived in a population of patients with
kidney disease, the vast majority of whom had GFR < 60ml/min/1.73m2. Soon after its
widespread implementation, it became clear that the MDRD equation was less accurate and
less precise among persons with higher levels of GFR. Thus, once again, this equation is
known to be imprecise in persons with normal or near-normal kidney function. A more recent
modification to this equation has been developed by several of the same authors; the so-called
“CKD-EPI” equation, which incorporated greater numbers of patients with GFR levels ≥
60ml/min/1.73m2 to modify the coefficients and try to improve on the accuracy and precision
over the MDRD equation.12 Indeed the CKD-EPI equation was successful in doing so, but the
improvements are relatively modest. This is likely because the serum creatinine concentration
does not change much in response to changes in kidney function in the normal or near-normal
range, making any substantive improvements in estimating GFR in this range difficult using
serum creatinine as the key marker of GFR.

Cystatin C is a newer endogenous marker of kidney function. Unlikely serum creatinine,
cystatin C is produced by all nucleated cells in the body, and is therefore less influenced by
differences in muscle mass. It also appears to be more sensitive to early decrements in kidney
function. Studies consistently demonstrate that cystatin C based estimates of GFR more
accurately predict risk of future kidney failure and cardiovascular disease (which is strongly

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linked to kidney disease) and can do so at earlier levels of GFR compared to creatinine-based
GFR estimates.13, 14 However, this test is just now entering the clinical arena in widespread
clinical use. Reasons for this are not entirely certain, but likely reflect modestly greater cost for
clinical measurement of cystatin C relative to creatinine, because of 80 years of familiarity and
tradition of use of creatinine, and because not all clinical laboratories are yet able to routinely
provide cystatin C measurements. However, the leading international clinical practice guideline
committee in kidney disease (KDIGO) has recently recommended using cystatin C as a
confirmatory test for kidney disease in patients where the serum creatinine based estimate may
be unreliable,15 so I anticipate it will rapidly gain greater clinical use over the next several years.

In 2002, the National Kidney Foundation’s “Kidney Disease Outcomes Quality Initiative
(KDOQI)” (the precursor to KDIGO) set forth a standard criterion for severity of kidney disease,
which I summarize in Table 1 below.16

The KDOQI definitions are provided here as a frame of reference. I recognize that the KDIGO
staging system has recently been revised to consider not only eGFR, but also the cause of
kidney damage and the level of albuminuria,15 but these data are not available in most of the
studies I have reviewed for this report, so unnecessarily complicate the review.

The KDIGO guidelines summarized in the table above should be used by the reader to
understand that GFR ranges on the order of 30-59 ml/min/1.73m2 are considered “moderate”
decrements in kidney function in contemporary nephrology clinical practice, lower levels are
considered “severe”, and that patients typically require dialysis at levels below 15
ml/min/1.73m2. Moreover, the KDOQI CKD stages also demonstrate that diagnosing “kidney
disease” requires abnormal kidneys by imaging or ancillary laboratory tests at eGFR levels ≥ 60
ml/min/1.73m2 recognizing the limitations of creatinine (either alone or in a prediction equation)
as a marker of GFR in the range of kidney function when it approaches normal or near-normal
levels.

Table 1: CKD stages by KDOQI

Stage                             Description                        GFR (ml/min/1.73m2)

1                                 Kidney damage with normal or       ≥ 90
                                  increased GFR

2                                 Kidney damage with mild            60-89
                                  decrease in GFR

3                                 Moderate decreased GFR             30-59

4                                 Severe decreased GFR               15-29

5                                 Kidney failure                     < 15 (or dialysis)



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VII. Overview of Rivaroxaban Pharmacology with an Emphasis on the Kidney

A Phase 1 study evaluating the metabolism and excretion of rivaroxaban in 4 healthy human
volunteers given a single 10mg dose of rivaroxaban demonstrated that the drug was rapidly
systemically absorbed after oral administration.6 The drug reaching peak plasma
concentrations approximately 30 minutes after consumption, and was eliminated rapidly from
plasma resulting blood levels below the limit of detection at approximately 24 hours after drug
consumption.

Excretion occurred primarily via the kidney (66%). Thirty six percent was excreted as
unchanged drug in the urine, and a small fraction (7%) unchanged in the feces. Of changed
rivaroxaban, 32% was eliminated via oxidative pathways, and a smaller fraction (14%) as
metabolites altered by hydrolytic cleavage of amide bonds. Unchanged rivaroxaban was the
major moiety discovered in the blood at all time-points and no pharmacologically active
metabolites were identified. Thus, of the drug that is systemically absorbed, about 2/3 is
metabolized by the liver, and 1/3 is excreted unchanged by the kidney, and at least partially
cleared via renal tubule cell secretion. Of the 2/3 metabolized via the liver, about 1/3 of the
metabolites are secreted by the kidney.17

Kubitza and colleagues noted that 36% of the dose being excreted as unchanged drug in the
urine was cleared through renal tubule secretion, likely involving specific renal transport
proteins.6 Indeed, the package insert for rivaroxaban states, “…Unchanged drug is excreted into
the urine, mainly via active tubular secretion and to a lesser extent via glomerular filtration
(approximate 5:1 ratio)”18 referring to the study by Weinz and colleagues,17 although the specific
data that that resulted in that conclusion from this manuscript are elusive to me. In a study
involving 48 elderly subjects, interestingly, the excretion of rivaroxaban via the kidneys
remained unchanged (9-11mg) regardless of whether subjects took a 30mg, 40mg, or 50mg
dose suggesting that the secretion mechanisms may be saturated at higher doses. In this
study, 30% was excreted by the kidneys at the 30mg dose, 28% at the 40mg dose, and only
22% at the 50mg dose.19

Studies evaluating the half-life (T ½) of rivaroxaban have demonstrated shorter T ½ (4-6 hours)
with single day administration, which is extended to 6-8 hours with repeated daily.6 I note,
however, that a pharmacokinetic (PK) study conducted in elderly subjects given a single dose of
the drug had longer T ½ (11-13 hours) than that reported in younger persons. It is possible, and
perhaps likely, that the longer T ½ reflected the influence of decreased kidney function in these
older individuals.19

Several prior PK and pharmacodynamic (PD) studies have demonstrated that the rivaroxaban
blood levels, factor Xa inhibition, and prothrombin time (PT- a commonly available clinical
laboratory test that is influenced by factor Xa activity and evaluates the degree of
anticoagulation) showed similar profiles regarding the timing of peak drug levels and peak anti-
coagulation effect, and conversely a similar rate of normalization of both parameters in parallel
with decreasing rivaroxaban blood concentrations thereafter. This has been shown in multiple
studies and was similar in studies of a single dose vs. daily administration for 7 days.6, 19, 20 This
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       suggests that PT measurement could be used clinically to monitor the degree of anticoagulant
       effect of rivaroxaban. Investigators employed by the makers of rivaroxaban have come to
       similar conclusions in prior publications.6

       Only limited data from PK studies are available in persons with diminished kidney function. One
       study involved 32 patients, including 8 with normal or near-normal kidney function (creatinine
       clearance ≥ 80 ml/min), and 8 each in 3 groups stratified by progressively worse kidney function
       (creatinine clearance 50-79, 30-49, and 15-29 ml/min).21 Each participant was given a single
       10mg dose of rivaroxaban orally, and PK and PD measurements were made subsequently.
       Persons with increasing severity of kidney disease had increased exposure to rivaroxaban
       relative to the normal/near normal reference group, as shown by the relative increase in the
       rivaroxaban AUC in Table 2 below (1.44, 1.52, and 1.64 times higher, respectively). These data
       were later used by the pharmaceutical company to support inclusion of recommendations for
       drug dosing in persons with non-valvular atrial fibrillation and creatinine clearance down to 15
       ml/min during the approval process with the Food and Drug Administration (FDA),22 and the
       rivaroxaban label now includes similar data in its packaging insert.23 What is concerning,
       however, is that the pharmacodynamics data evaluating the degree of factor Xa inhibition and
       PT prolongation are inconsistent with the blood rivaroxaban concentrations.

 Table 2: Percentage Increase in Rivaroxaban pK and pD Measures in Subjects with Renal Impairment
                    Relative to Healthy Subjects in Clinical Pharmacology Studies
Measure           Parameter          Creatinine Clearance                    Relative Increase
                                ≥ 80   50-79     30-49    15-29
                               (n=8)    (n=8)    (n=8)    (n=8)      ≥ 80   50-79      30-49   15-29
Exposure             AUC       1247     1863      2068    2228         Ref      1.44       1.52               1.64
FXa Inhibition      AUEC        355      536       692     743         Ref      1.50       1.86               2.00
PT Prolongation     AUEC       15.4      21.0     33.6    37.9         Ref      1.33       2.16               2.44
AUC = area under the plasma concentration-time curve; AUEC = area under the effect-time curve.


       As shown in Table 2, the degree of factor Xa inhibition was much more dramatic, with a 2-fold
       increase in persons with creatinine clearance 15-29 compared to those with normal/near normal
       kidney function. The PT prolongation was even more dramatic, with a 2.44 fold increase in the
       same comparison. As the investigators from this study had previously concluded, PT
       measurement is a useful indicator for clinical monitoring of the degree of anticoagulation in
       persons taking rivaroxaban,6 and raises the possibility that blood rivaroxaban levels may not
       mark the degree of anticoagulation effect the same way in persons with advanced kidney
       disease compared to other populations, and that such individuals may in fact be more
       anticoagulated at any given rivaroxaban blood level. Thus, the risk of adverse bleeding events
       may be higher in persons with advanced kidney disease than is suggested by the rivaroxaban
       exposure AUC alone.

       Another limitation of this study is that only a single dose of rivaroxaban was tested, and that
       levels were still detectable in blood 48 hours after administration in patients with kidney disease.

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This leaves open the possibility that repeat dosing (for example, once daily dosing, as is
currently recommended for non-valvular AF) may lead to progressive accumulation of
rivaroxaban and may lead to higher mean exposure and anticoagulant effects. Stable dosing
for several days and assessment in true steady state would be useful to address this possibility.

I make the following interim conclusions from my review of the pharmacokinetic and
pharmacodynamic studies evaluating rivaroxaban summarized above:

   1. Kidney function is responsible for approximately 1/3 of rivaroxaban’s elimination from the
      human body.

   2. Renal tubule secretion is an important component of renal rivaroxaban elimination, thus
      measurement or estimation of glomerular filtration alone may not entirely parallel renal
      elimination of rivaroxaban.

   3. Prothombin time (PT) correlates closely with blood rivaroxaban concentrations and the
      level of inhibition of factor Xa, and represents a useful clinical measure to assess the
      degree of anticoagulation in patients with normal or near-normal kidney function.

   4. Kidney dysfunction influences rivaroxaban metabolism. Persons with creatinine
      clearance < 30 ml/min taking rivaroxaban may have greater degrees of anticoagulation,
      as assessed by PT, than would be expected by rivaroxaban exposure alone.

   5. PK and PD data in patients with creatinine clearance < 30ml/min are limited to 8
      patients, and a single dose of rivaroxaban. Whether PK and PD data are similar with
      recurrent daily dosing in steady state is unknown.

VIII. Data from Population PK and PD Studies

Initial large-scale studies evaluating rivaroxaban evaluated predominantly middle-aged patients
undergoing hip and knee replacement surgery in the RECORD program or patients with venous
thromboembolism (VTE) in the EINSTEIN program. Age is the dominant risk factor for atrial
fibrillation (AF) and is also a major risk factor for kidney disease. As such, the typical patient
with AF is older and has worse kidney function than many of the patients enrolled in RECORD
and EINSTEIN. As the pharmaceutical companies began planning a large phase 3 trial to test
rivaroxaban in AF patients, they appear to have appropriately recognized they had sparse PK
and PD data in persons of older age and with kidney dysfunction, which would be a common
occurrence in an AF trial.24 Thus, additional data was desired to guide dosing regimens with
non-valvular AF.

Mueck and colleagues used data from a total of 1,156 participants in two already completed
Phase 2 studies using rivaroxaban (ODIXa-DVT and EINSTEIN DVT).25, 26 In these studies,
blood samples were taken before the initial dose of rivaroxaban, and at certain time intervals
after rivaroxaban dosing, both after the first dose and in steady state, after several weeks of
follow-up. These specimens were measured for blood rivaroxaban concentrations, factor Xa
activity, PT, activated partial thromboplastin time (aPTT), and the HepTest. These data were
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then used to conduct studies on population PK and define variables that were likely to influence
the level of anticoagulation in individual patients.24 Ultimately, data from 870 individual patients
were included. These data were used to create a virtual population of 1000 individuals who
were older and had lower creatinine clearance. All patients in these studies had creatinine
clearance > 30 ml/min. There are very limited data in the manuscript about how patients were
selected, and how this “virtual population” simulation was done. Nonetheless, using this model,
several important features of PK changes were noted. First, it was noted that, while overall
there was a rapid and direct relationship between rivaroxaban levels and the PT, renal function
was the only variable to affect the slope of this relationship. Once more, this suggests that the
linear and direct relationship between blood rivaroxaban concentrations and its anticoagulation
effect may not be identical in patients with kidney disease. Second, while the maximum
concentration of rivaroxaban was similar in the 870 vs. the simulated AF population of 1000
individuals (270ug/L vs. 290ug/L, respectively), there were more dramatic differences in trough
levels (25.5 vs. 32ug/L respectively) and thus higher total exposure as assessed by the area
under the curve (AUC; 2870 ug*h/L in DVT vs. 3310 ug*h/L in the virtual AF patients; a 15.3%
increase). Analyses of individual covariates demonstrated that kidney function (in the range of
30-49 ml/min) was the dominant factor leading to increase in rivaroxaban exposure, resulting in
prolonged half-life and increased trough values.

Advanced age had additional, albeit more modest effects (see Figure 2). Comparisons were
then made so as to compare a dose of 15mg daily in patients with creatinine clearance < 30-
49ml/min to a dose of 20mg daily in persons with higher creatinine clearance. Based on
modeling, these data suggested similar exposure to rivaroxaban blood concentrations
(Figure 3). Conspicuously, similar data showing PT data were not provided, which may have
been important given the difference between rivaroxaban and PT levels in persons with and
without kidney disease demonstrated earlier in this paper and in the PK study summarized
previously.




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Figure 2: Influence of Specific Covariates on Rivaroxaban AUC in Population PK
Simulation Study.




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Figure 3: Simulated Rivaroxaban Blood Levels Comparing 20mg in Persons with
Creatinine Clearance > 50 vs. Creatinine Clearance 30-49 ml/min.




Based on these data, participants in the ROCKET-AF study (described subsequently) with
creatinine clearance ≥ 50 ml/min received rivaroxaban 20mg daily, whereas those with
creatinine clearance 30-49 ml/min received 15mg daily. Patients with creatinine clearance < 30
ml/min were excluded from participation in ROCKET-AF. The authors of this modeling paper
concluded that “…This analysis suggests that renally impaired patients receiving the lower dose
should have similar exposure to that of patients with normal renal function receiving rivaroxaban
20mg once daily.”

The efficacy and safety of rivaroxaban in patients with creatinine clearance between
30-49ml/min vs. those with better kidney function within ROCKET-AF are summarized below.
However, after completion of ROCKET-AF, the investigators undertook a similar population PK
study to the one summarized above, conducted within the ROCKET-AF study itself, to confirm
and further refine the dosing regimen used in the study in actual patients with non-valvular AF
rather than a simulated population with similar characteristics.

In the ROCKET-AF population PK study, investigators identified 161 ROCKET-AF participants
from select sites (25 patients with creatinine clearance 30-49 ml/min). Blood samples were
taken in steady state when participants were at least 2 weeks into the study. Participants gave a
pre-dose blood sample 1 hour before taking rivaroxaban and post-dose samples were collected
over intervals of 1-3 and > 3-16 hours after administration. The exact time of blood sample was
recorded by which to model PK and PD. The PK data generally supported the models

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developed in the paper by Mueck summarized above, as persons with creatinine clearance
30-49 ml/min taking 15mg of rivaroxaban generally had similar rivaroxaban AUC to those with
higher creatinine clearance. A comparison of simulated plasma concentrations in persons with
creatinine clearance 30-49 ml/min vs. higher kidney function from this paper are shown in
Figure 4 below. While the levels are generally overlapping, a few subtle but important
differences are observed. At the 15mg dose in a person with creatinine clearance 30-49 ml/min,
the peak concentration is lower, and the mean level 24 hours later (an estimate of trough levels)
is higher with similar overall exposure (similar AUC). Indeed, the authors conclude similarly in
their discussion. For patients with moderate renal impairment (who received 15mg per day) the
geometric mean maximum concentration was 229 compared to 249 to persons with higher
creatinine clearance (receiving 20mg daily). Yet the AUC was 3249 ug*h/L vs 3165 ug*h/L,
respectively, thus slightly higher. While data on trough levels are not provided, it can be inferred
that mean trough levels are higher in the patients with creatinine clearance 15ml/min in this
simulation study. This is important in light of the only PK data available in persons with reduced
kidney function, as it evaluated only a single dose of rivaroxaban, thus repeated dosing may
potentially result in accumulation over time and increased trough levels.

Figure 4. Simulated Levels of Rivaroxaban in 3 Simulated Patients with Different Kidney
Function in ROCKET-AF




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Specific data on PD data are not presented similarly to the paper by Mueck in the ROCKET AF
population PK study, yet similar results appear to have been observed in regards to the
prothrombin time (PT). The authors conclude “…An effect of renal function (expressed as
creatinine clearance) was detected in the PT, with moderate influence on the base and
exponent parameters. At a concentration of 250ug/L the PT values …varied by approximately
8.5% for the CrCl range in our study population….” Thus, at a given level of plasma
rivaroxaban, persons with lower creatinine clearance had a higher PT level in this study,
demonstrating once more that the degree of anticoagulation may be greater at any given
rivaroxaban concentration in patients with diminished kidney function.27

I make the following interval conclusions based on these population PK and PD studies:

   1) Rivaroxaban 15mg daily in persons with creatinine clearance 30-49ml/min results in
      reasonably similar drug exposure to 20mg daily in persons with higher creatinine
      clearance.

   2) Despite similar overall exposure to rivaroxaban, there are subtle differences in drug
      elimination in persons with creatinine clearance 30-49 ml/min vs. higher creatinine
      clearance. Persons with creatinine clearance 30-49 ml/min taking 15mg per day of
      rivaroxaban have lower maximum drug levels and higher trough drug levels with similar
      total exposure (AUC) when compared to persons with higher creatinine clearance taking
      rivaroxaban 20mg per day.

   3) Whereas there is a strong linear relationship between plasma drug concentrations and
      PT in persons with creatinine clearance greater than 50 ml/min, there is a subtle
      difference in persons with creatinine clearance 30-49 ml/min wherein the degree of
      anticoagulation (as assessed by PT) is greater at a given drug level than in persons with
      higher creatinine clearance.

VIII. Observations from Large-Scale Clinical Trials Regarding the Effect of Kidney
Function on Bleeding and Thrombosis Risk in Persons Treated with Rivaroxaban

Several large-scale randomized clinical trials were initiated to investigate the efficacy of
rivaroxaban for either treatment of venous thromboembolism (VTE) in the EINSTEIN program,
or DVT prophylaxis after orthopedic surgery procedures in the RECORD study program. Here, I
briefly review available data from the EINSTIEN and RECORD studies. The ROCKET-AF study
evaluates older patients with atrial fibrillation and provides more information on bleeding risk by
CKD severity. Thus, this study will be evaluated separately in the subsequent section.

   a. EINSTEIN

       In the EINSTEIN study, 3,449 patients with acute symptomatic DVT were randomized to
       either rivaroxaban 15mg twice daily for 3 weeks, followed by 20mg once daily or
       subcutaneous enoxaparin followed by a vitamin K antagonist in an open label design.
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    Participants were treated for 6-12 months and the primary endpoint was recurrent
    symptomatic DVT. The study was designed as a non-inferiority study. The two groups
    were well balanced with respect to baseline covariates at the time of randomization.
    Rivaroxaban was found to be non-inferior with respect to recurrent symptomatic DVT
    with 36 events (2.1%) in the rivaroxaban arm and 51 events (3.0%) in the enoxaparin-
    vitamin K antagonist arm. The hazard ratio (HR) for rivaroxaban vs. enoxaparin-vitamin
    K antagonist was 0.68 with 95% confidence intervals (CI) 0.44 to 1.04 (one-sided p-
    value < 0.001 for non-inferiority, and p-value = 0.08 for superiority with a two-sided test).
    The principal safety outcome was first major or clinically relevant non-major bleeding,
    which occurred in 139 patients (8.1%) in the rivaroxaban arm and 138 patient (8.1%) in
    the enoxaparin-vitamin K antagonist arm (HR 0.97; 95% CI 0.76-1.22 p=0.77).28

    In EINSTEIN, persons with creatinine clearance < 30 ml/min were excluded from
    participation by study protocol, but Table 1 from the main paper shows that 6 patients in
    the rivaroxaban and 9 patients in the enoxaparin and vitamin K antagonist arm has
    creatinine clearance below this level at baseline nonetheless. Only approximately 7% of
    participants (115 individuals [6.6%] in the rivaroxaban arm and 120 [7.5%] in the
    enoxaparin/vitamin K antagonist arm) had creatinine clearance 30-49 ml/min in this trial.
    It was pre-specified to examine both the primary efficacy endpoint and primary safety
    endpoint by strata of baseline kidney function (stratified as ≥ 80, 50-79, and < 50
    ml/min). The online supplemental data from this trial shows that the non-inferiority
    primary efficacy endpoint appeared similar across baseline kidney function groups. It
    should be noted, however, that only 10 recurrent symptomatic DVTs occurred in the 250
    patients with creatinine clearance < 50 ml/min during follow-up in this trial. Similarly, for
    the primary safety end-point (bleeding), results appeared similar by baseline kidney
    function groups, although only 23 bleeding events occurred in the 248 patients in the
    creatinine clearance < 50 ml/min group.28 It is surprising to me that data are provided for
    2 fewer patients for major bleeding events analysis than that for the primary efficacy
    endpoint. The reasons for this are uncertain to me.

    In a parallel study published in the same manuscript, after completion of a course of
    treatment for acute symptomatic DVT, 1197 patients were randomized to rivaroxaban
    alone (20mg once daily) vs. matched placebo for 6-12 months, and evaluated for
    recurrent symptomatic DVT. Here too, the groups were well matched across
    randomized treatment arms, with approximately 7% of patients having baseline
    creatinine clearance < 50 ml/min (37 [6.1%] in the rivaroxaban arm and 49 [8.2%] in the
    placebo arm). In this study, the rivaroxaban group had significantly lower risk of
    recurrent DVT (8 events [1.3%] vs. 42 events [7.1%] in the placebo arm, HR 0.18, 95%
    CI 0.09 – 0.39; p < 0.001), and there were 4 patients in the rivaroxaban group who had
    major bleeding (0.7%) vs. none in the placebo group (p=0.11).28

    Once more, in the online supplemental appendix, efficacy for the primary endpoint
    appeared similar in the creatinine clearance < 50 ml/min arm (although only 7 recurrent
    DVT events occurred in the 86 patients with creatinine clearance in this range), and

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    rates of bleeding events also appeared similar. However, the confidence intervals
    around the point estimate for bleeding events were very wide and likely unstable, as only
    3 bleeding events occurred in persons with creatinine clearance < 50 ml/min during
    follow-up.28

    A subsequent paper published in the New England Journal of Medicine reported results
    of the EINSTEIN trial focusing on treatment of acute pulmonary embolism (PE). This too
    was a randomized open-label non-inferiority study which randomized 4,832 with acute
    symptomatic pulmonary embolism to receive rivaroxaban 15mg twice daily for 3 weeks
    followed by 20mg once daily vs. enoxaparin followed by adjusted dose vitamin K
    antagonist. Participants were seen in follow-up at 3, 6, and 12 months, and the primary
    endpoint was symptomatic DVT. Rivaroxaban was found to be non-inferior (p=0.003)
    with 50 DVT events (2.1%) vs. 44 events (1.8%) in the enoxaparin/vitamin K antagonist
    group (HR 1.12, 95% CI 0.75-1.68). The primary safety outcome was major or clinically
    relevant non-major bleeding which occurred in 26 patients (1.1%) in the rivaroxaban
    group and 52 patients (2.2%) in the comparator group (HR 0.49; 95% CI 0.31 to 0.79;
    p=0.003).29

    As with the DVT study, this PE study excluded persons with creatinine clearance <
    30ml/min, however 6 patients with creatinine clearance below this level were
    randomized nonetheless (4 in the rivaroxaban group and 2 in the comparator).
    Approximately 8% (398) participants had creatinine clearance between 30-50ml/min
    (207 [8.6%] in the rivaroxaban group and 191 [7.9%] in the comparator group). The
    online supplemental data provides safety and efficacy data stratified by creatinine
    clearance subgroups. Both efficacy (DVT events) and safety (bleeding) events generally
    look similar across subgroups, however (a) no p values for interaction across subgroups
    are provided, (b) the number of events in those with creatinine clearance < 50 ml/min is
    small (12 DVT events among 404 participants with creatinine clearance < 50; 3.3% in
    the rivaroxaban group and 2.6% in the comparator group, and 60 bleeding events in 401
    participants with creatinine clearance < 50; 12.4% in the rivaroxaban group, and 17.7%
    in the comparator group) and (c) confidence intervals around the estimates are wide. As
    with the DVT study, it is surprising to me that data for efficacy are presented in 404
    participants with creatinine clearance < 50 ml/min, but safety data is only provided for
    401 participants. The reason(s) for this discrepancy is unclear to me.29

    A subsequent analysis using EINSTEIN data evaluated risk factors for major bleeding.
    This study found that lower creatinine clearance was an independent risk factor for major
    bleeding events (HR 0.62; 95% CI 0.42 to 0.91), however the risk of major bleeding was
    similar across the two treatment arms by creatinine clearance categories during the first
    3 weeks of treatment (p interaction “>0.10”). Later in this manuscript, the authors
    evaluate risk of bleeding over the entire study period. Oddly, there are no data
    presented regarding the influence of renal function in this section of the paper (Table 5),
    whereas age, gender, baseline hemoglobin, race, NSAID use, and many other factors
    were evaluated and presented.30

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 b. RECORD

    A subsequent set of large scale studies focused on prevention of DVT for patients
    undergoing hip and knee replacement surgery were conducted in the “RECORD”
    program. These studies are summarized only briefly here, as only very limited data on
    renal function are available within the RECORD program.

    In RECORD 1, 4,541 patients were randomized to rivaroxaban 10mg once daily or 40mg
    enoxaparin subcutaneously beginning the evening before surgery in patients undergoing
    total hip arthroplasty. The primary endpoint was the composite of DVT (symptomatic or
    detected by venography), PE, or death from any cause over 30-42 days. The primary
    safety outcome was major bleeding. This was a double-blind study. As with EINSTEIN,
    persons with creatinine clearance < 30 ml/min were excluded. Only 3,153 patients were
    included in the superiority analysis and 4433 in the safety analysis. Rivaroxaban was
    associated with lower risk of DVT (absolute risk reduction 2.6%, 95% CI 1.5 to 3.7; p<
    0.001). Major bleeding occurred in 6 of 2209 patients (0.3%) in the rivaroxaban group
    and 2 of 2224 patients in the enoxaparin group (P=0.18). No data are available either in
    the primary paper or in the supplemental appendix regarding efficacy or safety stratified
    by baseline renal function.31

    In RECORD 2, the focus was on extended thromboprophylaxis with rivaroxaban vs.
    short-term thromboprophylaxis with enoxaparin. Patients undergoing elective hip
    arthroplasty were randomly assigned to oral rivaroxaban 10mg daily for 31-39 days (with
    placebo injection for days 10-14) vs. enoxaparin 40mg once daily subcutaneously (with
    placebo tablet for 31-39 days). The study randomized 2509 participants, however only
    1,733 were included in the primary analysis as the others either did not receive at least 1
    dose of study medication, did not undergo surgery, or had inadequate assessment of
    thromboembolism. The primary efficacy outcome was symptomatic or venography
    defined DVT, PE or mortality to day 30-42. Rivaroxaban was associated with a 7.3%
    absolute risk reduction in the primary endpoint (95% CI 5.2 to 9.4%, p< 0.001) and the
    main safety endpoint, any on-treatment bleeding, was similar in both groups (6.6% in
    rivaroxaban, 5.5% in enoxaparin, p=0.25). The study states “severe renal impairment”
    was an exclusion, but its definition is not described within the manuscript. The BAYER
    study protocol defines “severe renal impairment” as creatinine clearance < 30 ml/min
    (page 75 of the protocol). To my knowledge, no information on the prevalence of
    different levels of kidney function among participants, nor the efficacy or safety
    assessment by kidney function subgroups has been published from this study.32

    RECORD 3 focused on DVT after total knee arthroplasty. This study was a double blind
    randomized trial in 2,531 patients undergoing total knee arthroplasty who were
    randomized to oral rivaroxaban 10mg once daily beginning 6-8 hours before surgery or
    subcutaneous enoxaparin 40mg once daily beginning 12 hours before surgery. The
    primary efficacy outcome was the composite of any DVT, PE, or death from any cause
    within 13-17 days after surgery. The primary safety endpoint was major bleeding. The

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       primary efficacy endpoint occurred in 9.6% in the rivaroxaban arm and 18.9% of the
       enoxaparin arm (absolute risk reduction 9.2%, 95% CI 5.9 to 12.4%, P< 0.001). Major
       bleeding occurred in 0.6% (7 patients) in the rivaroxaban arm and 0.5% (6 patients) in
       the enoxaparin arm (P=0.77). The manuscript itself makes no mention of exclusion
       based on kidney function, but the protocol reports that patients with creatinine clearance
       < 30 ml/min were excluded (protocol page 77).33 To my knowledge, no information on
       the prevalence of different levels of kidney function among participants, nor the efficacy
       or safety assessment by kidney function subgroups has been published from this
       study.34

       Last, RECORD 4 was a randomized double-blind phase 3 study of 3,148 patients
       undergoing knee arthroplasty who were randomized to oral rivaroxaban 10mg once daily
       beginning 6-8 hours after surgery, or enoxaparin 30mg every 12 hour starting 12-24
       hours after surgery. All patients had venography between days 11 and 15. The primary
       outcome was any DVT, PE, or death from any cause between surgery and day 17, and
       the primary safety endpoint was major bleeding. The study was designed as a non-
       inferiority study. The primary outcome occurred in 67 of 965 patients (6.9%) in the
       rivaroxaban arm and 97 of 959 patients (10.1%) in the enoxaparin group (absolute risk
       reduction 3.19%, 95% CI 0.71 to 5.67%, P=0.0118). Ten (0.7%) patients in the
       rivaroxaban and 4 (0.3%) in the enoxaparin group had major bleeding (p=0.11). Severe
       renal impairment, defined as creatinine clearance < 30ml/min was an exclusion criteria.
       As with the other RECORD studies, to my knowledge, no information on the prevalence
       of different levels of kidney function among participants, nor the efficacy or safety
       assessment by kidney function subgroups has been published from this study.35

       In summary, the RECORD program involved several studies that enrolled and
       randomized over 12,000 adults undergoing various orthopedic surgical procedures and
       were randomized to rivaroxaban vs. enoxaparin with or without conversion to vitamin K
       antagonists and evaluated for clotting, death, and bleeding episodes. Persons with
       creatinine clearance < 30 ml/min were systematically excluded, and there are no data
       available on published data to address whether or not the severity of kidney function at
       levels higher than 30 ml/min influenced either the anti-coagulation efficacy or bleeding
       safety in these studies.

IX. ROCKET-AF

ROCKET-AF was a large-scale, Phase 3, double blind randomized trial evaluating rivaroxaban
vs. dose-adjusted warfarin for prevention of embolic events in persons with non-valvular atrial
fibrillation at high risk of stroke and other embolic events. The trial randomly assigned 14,264
patients to rivaroxaban 20mg daily (or 15mg daily if creatinine clearance was 30-49 ml/min) or
warfarin. The primary end point was stroke or systemic embolization. The primary safety
endpoint was major and non-major clinically relevant bleeding events. The two randomized
treatment arms were well balanced at baseline. Both groups had mean creatinine clearance of
67 ml/min and similar interquartile ranges (52-88 in rivaroxaban and 52-86 in warfarin). In the

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intention-to-treat analysis, the primary endpoint occurred in 2.1% of rivaroxaban treated patients
and 2.4% of warfarin treated patients (HR 0.88; 95% 0.74-1.03; P< 0.001 for non-inferiority and
=0.12 for superiority). Major and non-major bleeding occurred in 14.9% in the rivaroxaban
group and 14.5% in the warfarin group (HR 1.03; 95% CI 0.96 to 1.11; p=0.44). A significant
reduction in intracranial hemorrhage and fatal bleeding events were observed in the rivaroxaban
group.36

The online supplemental data from this trial provides data demonstrating that risk of the primary
endpoint in intention to treat analysis was similar across three creatinine clearance subgroups
with hazard ratios (95% confidence intervals) of 0.88 (0.65, 1.19) in those with creatinine
clearance < 50 ml/min, 0.85 (0.67, 1.08) in those with creatinine clearance 50-80 ml/min, and
0.94 (0.67, 1.31) in those with creatinine clearance > 80 ml/min (p-interaction 0.900) with hazard
rations < 1 favoring the rivaroxaban group. The online supplement also documents that there
were 2,949 participants (20.6%) with creatinine clearance < 50ml/min who participated in the
trial. In addition, major and clinically significant non-major bleeds were similar by creatinine
clearance subgroups. Hazard ratios (95% confidence intervals) were 0.84 (0.58, 1.23); 0.73
(0.56, 0.96); and 0.87 (0.59, 1.28) in persons with creatinine clearance < 50, 50-80, and > 80
ml/min, respectively (p interaction 0.715).36 A manuscript focusing on the CKD subgroup of
ROCKET-AF provides similar data.37

Several aspects of the ROCKET-AF protocol are notable regarding kidney function. First, if
patients had a loss of kidney function from higher than 50 ml/min to levels < 50 ml/min during
the trial, there was no dose adjustment. Such patients continued taking rivaroxaban 20mg daily
or matched placebo.27 However, if participants had a decline in renal function to < 25 ml/min
during the trial, and it was confirmed by repeat assessment, their rivaroxaban or matched
placebo was held for the remainder of the trial.36 Kidney function was assessed annually during
the ROCKET-AF trial.

A separate, but similar trial, was conducted in Japan, named J-ROCKET. Per the background
data provided in the manuscript, the manufacturer has PK data suggested that a 15mg once
daily dose of rivaroxaban provided similar maximum blood doses and AUC values in persons of
Asian descent as a 20mg once daily dose in Caucasians. I believe these PK data are
unpublished. Japan clinical practice guidelines recommend dosing warfarin to an international
normalized ratio (INR) of 1.6-2.6 in older persons; this target is lower than in the US and in
much of the rest of the world. As such, J-ROCKET was conducted entirely in Japan among
patients with non-valvular AF. Eligible patients were selected to be at high risk for embolic
events as determined by prior stroke, transient ischemic attack (TIA) or systemic embolization
or > 2 stroke risk factors; those with fewer than 2 risk factors were limited to < 10% of the total
patients. These enrollment criteria were similar to ROCKET. Patients were randomized to
receive either oral rivaroxaban 15mg daily (or 10mg daily if creatinine clearance was 30-49
ml/min) or dose adjusted warfarin targeting INR of 2.0-3.0 if aged < 70 or 1.6-2.6 if aged ≥ 70
years. Patients with creatinine clearance < 30 ml/min were excluded. Primary efficacy and
safety endpoints were similar to ROCKET. Participants were well balanced at baseline and 284
participants (22%) had creatinine clearance 30-49 ml/min at baseline. Major bleeding and non-

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major clinically relevant bleeding events occurred in 18% of rivaroxaban treated patients and
16% of warfarin treated patients (HR 1.11; 95% CI 0.87-1.42). For the stroke or systemic
embolization end-point, there were 1.26% of patients in the rivaroxaban group and 2.61% in the
warfarin group that had events (HR 0.49; 95% CI 0.24-1.00; p=0.050).38

Information on the risk of the primary endpoint across kidney function groups was provided in an
FDA presentations made by Janssen Pharmaceuticals on September 8, 2011. Main results for
the primary endpoint stratified by severity of kidney function are shown in Table 3 below:

Table 3. Risk of Primary Events Stratified by Baseline Kidney Function in J-ROCKET*

Subgroup           Rivaroxaban         Warfarin           Hazard Ratio         Interaction p-
                   (N=637)                                (95% CI)             value
                                       (N=637)
                   N/n
                                       N/n
                   (/100PY)
                                       (/100PY)

Creatinine                                                                     P=0.0884
clearance
(ml/min)

 < 50              5/141 (2.77)        5/143 (3.34)       0.82 (0.25-2.69)

 50-80             2/338 (0.43)        13/335 (2.96)      0.15 (0.03 -
                                                              0.64)

 > 80              4/158 (1.78)        3/159 (1.34)       1.32 (0.30 – 5.91)

*Re-created from the FDA presentation by Janssen Pharmaceuticals on September 8, 2011,
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Data from J-ROCKET evaluating the primary safety endpoint (bleeding) were provided in a
manuscript by Hori and colleagues, but data in this paper were only stratified by creatinine
clearance < 50 ml/min vs. greater, rather than into 3 kidney function groups as had been done
in ROCKET, the FDA presentation above, and elsewhere. The hazard ratio for risk of the
primary safety outcome was 1.22 (0.78-1.91) for persons with creatinine clearance < 30 ml/min
and 1.07 (95% CI 0.80-1.43) in persons with creatinine clearance > 50 ml/min with levels > 1
favoring warfarin. The p-value interaction was 0.628.39

These data suggest that rivaroxaban was particularly effective in preventing the primary end-
point in persons with creatinine clearance between 50-80 ml/min in J-ROCKET. This may have
occurred theoretically, if rivaroxaban was retained due to diminished renal function and thereby
resulted in greater anti-coagulation in persons with renal function. However, this supposition
seems unlikely as similar associations were not seen in the persons with creatinine clearance <
50 ml/min. Second, if rivaroxaban induced a greater anticoagulation effect in persons with lower
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creatinine clearance (on reduced doses), one would anticipate higher bleeding risk in persons
with reduced kidney function in J-ROCKET, yet risk of bleeding was similar in persons with
creatinine clearance < 50 vs. greater in this study (p-interaction 0.628).39 Thirdly, similar effects
were not observed in ROCKET, as summarized above. Fourth, the number of primary embolic
events is very low in each strata. More likely, the interaction suggesting particularly good anti-
embolic effects of rivaroxaban in persons with creatinine clearance between 50-80ml/min, but
not in persons with creatinine clearance < 50 ml/min, was a chance finding.

Overall, considerable population PK modeling was undertaken to estimate appropriate dosing of
rivaroxaban in persons with creatinine clearance 30-49ml/min and non-valvular AF. Although
there are some subtle and important differences in PK and PD data in persons with creatinine
clearance in this range, the 25% dose reduction used in ROCKET resulted in similar total
rivaroxaban exposure. The available large-scale clinical trial data suggests that a 25% dose
reduction in persons with creatinine clearance 30-49ml/min, who received close follow-up,
routine surveillance of kidney function, and had strict stopping rules if creatinine clearance
dropped to below 25 ml/min, resulted in similar safety in regards to bleeding, and similar efficacy
in regards to prevention of embolic events as persons with higher creatinine clearance.

X. Use of Rivaroxaban in Persons with Creatinine Clearance < 30 ml/min

As summarized above, rivaroxaban is partially cleared from the body by the kidneys.
Diminished renal clearance leads to accumulation of rivaroxaban and potentiates its
anticoagulation effects. Dose reductions have been used in studies of AF if creatinine
clearance was 30-49 ml/min. And persons with creatinine clearance < 30 ml/min were
systematically excluded from large-scale clinical trials testing the efficacy and safety of
rivaroxaban.

The most recent rivaroxaban package insert (dated 05/2016) states “Avoid the use of Xarelto in
patients with creatinine clearance < 30 ml/min” when describing its use for treatment of DVT
and PI and for prophylaxis of DVT following hip or knee surgery. I was surprised to learn,
however, that for non-valvular atrial fibrillation, rivaroxaban is approved for use in persons with
creatinine clearance as low as 15 ml/min. The package insert states “…Patients with creatinine
clearance 15 to 30 ml/min were not studied, but administration of Xarelto 15mg once daily is
also expected to result in serum concentrations of rivaroxaban similar to those in patients with
normal renal function….”

This statement is factually based on the available data summarized in section VII regarding
rivaroxaban blood levels in the 8 patients studied in PK and PD studies with kidney function in
this range.21 However, this statement and dosing recommendation ignores the data that the
anticoagulant effects may be greater than expected for any rivaroxaban drug level in persons
with kidney disease observed in the PK/PD study.21 Moreover, the findings of discrepancy
between rivaroxaban blood levels and anticoagulant effects are consistent with data observed in
both population PK modeling studies summarized above, in which it was noted that the slope
between rivaroxaban blood levels and parameters of anticoagulation began to dissociate and
trended towards greater degrees of anticoagulation at any given level of rivaroxaban among
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persons with creatinine clearance < 50 ml/min. Next, the available data from the 8 patients in
the PK/PD study received only a single dose of study drug,21 thus the possibility of accumulation
of rivaroxaban with repeated dosing, and resulting greater anticoagulant effects, are plausible
and, to my knowledge, untested in persons with creatinine clearance < 30 ml/min. Last,
whereas there is at least some experience with use of rivaroxaban in persons with creatinine
clearance between 30-50ml/min in large-scale clinical trials, there are no long-term trial data
available to test either safety or efficacy in persons with creatinine clearance < 30 ml/min as
these patients were excluded from such trials.

Thus, I am surprised that the FDA approved dosing of rivaroxaban in persons with non-valvular
AF and creatinine clearance between 15-30 ml/min. In my professional opinion, there is
considerable evidence for risk of bleeding in such patients based on the available data. The
totality of evidence supporting the appropriateness of a 15mg per day dose in persons with
creatinine clearance < 30 ml/min comes from a PK/PD study in 8 patients who received a single
dose of study drug. The existing evidence also suggests that rivaroxaban drug levels may not
translate into predictable anticoagulant effects in this range of kidney function.

I conclude that the risks and benefits of treating persons with creatinine clearance < 30 ml/min
with rivaroxaban for non-valvular atrial fibrillation are uncertain and understudied. This
treatment strategy should be avoided.

XI. Risk Factors for Atrial Fibrillation and Kidney Disease are Overlapping

By far, the strongest risk factor for AF is older age.40 Other well known risk factors for AF
include hypertension,41 diabetes,42 valvular heart disease,43 heart failure,44 and obesity.45 All of
these are also risk factors for kidney disease; in fact diabetes and hypertension are the first and
second most common causes of kidney failure in the United States.46 Thus, it should be
expected that patients with AF would have a higher prevalence of kidney disease. In fact, this
association has been demonstrated repeatedly, both by myself and other investigators in prior
peer reviewed manuscripts.

In a study among 956 out patients with stable coronary artery disease, we demonstrated that
persons with moderate reductions in kidney function (eGFR by cystatin C < 62 ml/min/1.73m2)
were about 6-fold more likely to have AF than those with better kidney function (eGFR by
cystatin C > 79 ml/min/1.73m2).4 Recognizing that the two diseases had multiple shared risk
factors, we conducted multivariable adjusted analysis. Even when accounting for differences in
age, gender, race, body mass index, blood pressure, history of hypertension, and left ventricular
ejection fraction (an index of heart failure), those with eGFR < 62 ml/min/1.73m2 remained at
approximately 3-fold greater odds of having AF. It is important to notice the spectrum of kidney
function evaluated in our study. Essentially all participants had kidney function that was in the
range from normal to only moderate CKD, which overlaps well with the range in kidney function
evaluated in most of the Phase 2 and 3 studies summarized above. Also, when we repeated
analyses using creatinine-based estimates of kidney function using the MDRD formula, the
associations were much more modest. Specifically, in unadjusted analysis, those with eGFR <
66 ml/min/1.73m2 by the MDRD formula had approximately 3 fold higher prevalence of AF, but
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when this model was adjusted for the list of variables listed above, those with eGFR < 66 had
about a 60% higher prevalence; an association that was no longer statistically significant. This
may be because cystatin C provided more accurate estimates of kidney function in the normal
or near-normal range, and highlights the difficulty in assessing mild reductions in kidney function
in clinical practice by creatinine-based methods.

Others have since made similar observations among much larger cohorts of middle aged and
older populations. These studies benefitted from the opportunity not only to examine the
relationship of kidney function with AF prevalence at one point in time, but also with incident
development of AF over many years of follow-up. One of these studies was conducted in the
Cardiovascular Health Study, a large community based study among older adults (all were > 65
years at baseline) and showed that, similar to our findings, lower eGFR by cystatin C - even
within the normal or near-normal range in kidney function - was strongly associated with AF
prevalence independent of age and other shared risk factors.47 This study, however, did not
find an independent association of lower eGFR with incident development of AF during long-
term follow-up, suggesting that there may be common mechanisms to both disease processes
captured by some of the adjustment variables. A second study was conducted in a large
community-living middle aged population in the Atherosclerosis Risk in Communities (ARIC)
study. It also showed strong independent associations with eGFR by cystatin C with AF
prevalence, however unlike the Cardiovascular Health Study, the ARIC study did demonstrate
that lower eGFR was independently associated with incident development of AF during long-
term follow-up.48

The opposite is also true. In persons with AF, the risk of kidney disease progression and
development of end-stage renal disease is higher. This was most recently shown by Bansal
and colleagues who evaluated a cohort of 3091 persons with chronic kidney disease and
showed that development of AF during follow-up was associated with greater than 3 fold risk of
progression to end-stage renal disease.49 Likely mechanisms responsible for this effect are
summarized in the next section.

These findings have important implications. The strong and consistent association of (even
modest) diminished kidney function with prevalent AF demonstrate that, independent of
patients’ age, diabetes, hypertension, or other risk factors, those with AF are more likely to have
modest reductions in kidney function than those without AF. Second, as demonstrated in our
study, among persons with decrements in kidney function in the range between normal and
moderate kidney disease, the relationship with AF may be missed or substantially
underestimated if relying on creatinine based estimates alone. Third, persons who have AF are
more likely to have deterioration of kidney function over time. This has important implications
for use of rivaroxaban in patients with AF, and for monitoring kidney function in such patients
even if kidney function is in normal or near-normal range at the time rivaroxaban is initiated.

XII. Kidney Function is Not Stable Over Time

Persons with AF are often treated with anti-coagulants for months, years, or life-long. Kidney
function is not stable over time, and may change acutely. Thus, even if kidney function is
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normal or near-normal at the time rivaroxaban is initiated, it is likely that kidney function will
change during follow-up. In fact, the study by Bansal and colleagues suggests that this is more
likely than in persons without AF.49 Changing kidney function, in turn, would be expected to
influence rivaroxaban blood levels and may increase the risk for bleeding events. This suggests
that interval monitoring of kidney function and dose adjustments of rivaroxaban may be required
in patients with AF taking this medication.

There are a great number of causes of acute changes in kidney function, and an exhaustive list
is beyond the scope of this review. However, some causes that are encountered commonly in
clinical practice are summarized in Table 4, below:

Table 4. Common Causes of Acute Kidney Failure

Dehydration                       Use of Over-the-Counter Pain      Use of ACE inhibitors
                                  Medications called NSAIDS
Diarrhea                          (ex. Ibuprofen, advil ®, alleve   Use of Angiotensin Receptor
                                  ® , etc.)                         Blockers
Use of chemotherapeutic
medications                       Use of iodinated contrast for     Use of diuretic medications

Atrial fibrillation with rapid    computed tomography (CT)          Allergic reactions to
ventricular response              scans                             antibiotics or other
                                  Heart failure exacerbations       medications

                                                                    Systemic infections



Such acute changes in kidney function may be particularly common in patients with AF. For
example, the output of blood from the heart (here forward called “cardiac output”) is often
influenced by AF. This occurs for at least two reasons. First, the atria contract to deliver blood
to the lower “ventricle” chambers of the heart, ostensibly to completely “fill” them before they
contract and deliver cardiac output to the body. In AF, this atrial contraction is disorganized and
ineffective, thus delivery of blood to the ventricles may be compromised leading to a decline in
cardiac output. Second, many individuals develop a rapid ventricular heart rate in response to
AF (so called AF with rapid ventricular response, or “AF with RVR”). When the ventricles are
beating at too rapid a rate, they do not have sufficient time between beats to relax and fill with
blood again completely before the next beat, also contributing to decreased cardiac output.50
Unfortunately, cardiac output is not consistent in patients with AF, as many patients have
“paroxysmal AF”. This means they spend much of the time without AF in normal heart rhythm,
but spontaneously can go into and out of AF. Decreased cardiac output is a common cause of
acute change in kidney function. This is because the kidneys receive approximately 20% of
cardiac output. If cardiac output is decreased, kidney function, and kidney function often also
decrease in response.



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Second, several classes of drugs that are known to influence kidney function are used
commonly in treatment of AF patients. For example, in the setting of AF, if cardiac output is
decreased, this may lead to heart failure symptoms including fluid build-up in the lung tissue (so
called “pulmonary edema”), and greater venous pressure leading to swelling of the legs (so
called “dependent edema”). Clinically, the standard of care for treatment of these complications
of heart failure includes use of diuretic medications. This class of medications are known to
influence creatinine clearance if given too rapidly or at too high of a dose.51 Similarly, in
response to heart failure symptoms and for patients with a variety of different structural heart
diseases, patients are typically treated with one of two classes of medications; angiotensin
converting enzyme (ACE) inhibitors, and/or angiotensin receptor blockers (ARBs). These
medications are well established to help with heart remodeling and improve survival in heart
failure patients. However, they are also known to lead to acute changes in kidney function.52

In regards to rivaroxaban therapy, these factors have important implications. Even if kidney
function is measured and normal at the time of rivaroxaban initiation in persons with AF,
changing clinical status of AF, use of diuretics, ACE inhibitors, ARBs, or other medications that
may be introduced anywhere along the course of treatment of AF may lead to important
changes in GFR. These, in turn, would be expected to influence rivaroxaban drug levels,
increasing their anti-coagulant effects, and raising the risk of bleeding.

In ROCKET-AF, participants were closely followed by study coordinators and had surveillance
blood tests (including assessment of kidney function) at sequential study visits. Participants
received reduced dose rivaroxaban if creatinine clearance was low at study baseline, and there
were strict stopping rules of creatinine clearance fell below 25 ml/min during study follow-up.
This level of oversight and monitoring is more intensive than would be available in most routine
clinical practices. For these reasons, I agree with comments in the rivaroxaban label stating
(section 5.4), “Periodically assess renal function as clinically indicated (i.e., more frequently in
situations in which renal function may decline) and adjust therapy accordingly. Consider
adjustment or discontinuation of Xarelto in patients who develop acute renal failure while on
Xarelto.” And (6.1): “Because clinical trials are conducted under widely varying conditions,
adverse reaction rates observed in the clinical trials of a drug cannot be directly compared to
rates in the clinical trials of another drug and may not reflect the rates observed in clinical
practice.”23 What seems at odds, however, is that patients with creatinine clearance < 30
ml/min were systematically excluded from ROCKET, and drug was stopped if creatinine
clearance fell (and was confirmed) to < 25 ml/min. Nonetheless, the rivaroxaban was approved
for use in persons with creatinine clearance as low as 15 ml/min.




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XIII. Conclusions and Recommendations

I have come to the following expert opinions, which I hold to a reasonable degree of medical
and scientific certainty, and formed based on the same type of analyses used in my daily clinical
practice and in composing my published work. I reserve the right to supplement or change my
opinions as new information becomes available:

   1) Small to moderate decrements in kidney function is common in the general population,
      and even more common in persons with atrial fibrillation.
   2) Kidney function is not necessarily stable over time. Atrial fibrillation itself, medications
      commonly used in patients with atrial fibrillation, and common changes in clinical status
      predispose patients with atrial fibrillation to changes in kidney function over time.
   3) Persons treated with rivaroxaban should have kidney function and prothrombin time
      measured at the time of initiation of treatment, and repeatedly at intermittent intervals
      throughout the course of therapy. The assessment should be more frequent in patients
      who are closer to a creatinine clearance < 30 ml/min or persons with a trajectory of
      kidney function that is deteriorating quickly. Assessment of kidney function should also
      occur when new medications or clinical situations occur that might change kidney
      function.
   4) At the present time, the risks and benefits of treating persons with creatinine clearance <
      30 ml/min with rivaroxaban for non-valvular atrial fibrillation are uncertain and
      understudied. This treatment strategy should be avoided.




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